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                                         EXHIBIT B

                                    Szlezinger Declaration




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                              Chapter 11

    AMYRIS, INC., et al.,1                              Case No. 23-11131 (TMH)


                     Debtors.                           (Jointly Administered)

                                                        Re: Docket No. 334, 446, 450

DECLARATION OF LEON SZLEZINGER IN SUPPORT OF REPLY OF THE OFFICIAL
 COMMITTEE OF UNSECURED CREDITORS TO (A) DEBTORS’ OBJECTION TO
 THE COMMITTEE’S APPLICATIONS TO RETAIN JEFFERIES LLC (B) JOINDER
   OF EUAGORE, LLC AND THE FORIS PREPETITION SECURED LENDERS
                   TO THE DEBTORS’ OBJECTION

             I, Leon Szlezinger, hereby declare under penalty of perjury that, to the best of my

knowledge and belief, and after reasonable inquiry, the following is true and correct:

             1.     I am a Managing Director and Joint Global Head of Debt Advisory & Restructuring

at Jefferies LLC (“Jefferies”), an investment banking and financial advisory firm with principal

offices located at 520 Madison Avenue, New York, New York 10022, as well as at other locations

worldwide.

             2.     I submit this declaration in support of the Committee’s reply (the “Reply”) to (a)

the Debtors’ Objection to Application of the Official Committee of Unsecured Creditors for Entry

of an Order (I) Authorizing the Retention and Employment of Jefferies LLC as Investment Banker

Pursuant to 11 U.S.C. §§ 328(a) and 1103(a) [D.I. 446] (the “Debtors’ Objection”) and (b) the

Joinder of Euagore, LLC and the Foris Prepetition Secured Lenders to the Debtors’ Objection [D.I.


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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
      100, Emeryville, CA 94608.
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450] (the “DIP Lenders’ Objection” and, together with the Debtors’ Objection, the “Objections”)

to the Retention Application.

        3.      Except as otherwise noted, I have personal knowledge of the matters set forth

herein, and, if called as a witness, I would testify thereto.

                                Committee’s Retention of Jefferies

        5.      On August 30, 2023, Jefferies participated in a conference call with the Committee

and White & Case LLP (“White & Case”) to discuss Jefferies’ possible retention as an advisor to

the Committee in the Debtors’ Chapter 11 Cases. On that call, Jefferies presented its capabilities,

experience with similar restructurings and its views on certain issues likely to arise in the Chapter

11 Cases. The Committee asked questions of Jefferies, including with respect to its credentials

and the proposed terms of Jefferies’ compensation.

        6.      Among other matters, Jefferies apprised the Committee of the strength and

expertise of its Beauty & Wellness Investment Banking group, which Jefferies identified as

important given the Debtors’ contemplated sale of their performing and non-performing consumer

brands. Jefferies further underlined the credentials and reputation of its Specialty Chemicals

Investment Banking group, which Jefferies presented as critical given the complex and highly

technical nature of the Debtors’ core ingredients businesses and Jefferies’ prior engagement by the

Company in connection with a June 2020 PIPE transaction. In addition, Jefferies explained its

presence in the Brazil market, where a material portion of the Debtors’ operations and certain

Committee members are located. Further, as discussed in my initial declaration [D.I. 334-3] in

support of Jefferies’ retention application, Jefferies and its senior professionals have extensive

experience in the reorganization and restructuring of troubled companies, both out of court and in

chapter 11 proceedings. Jefferies has advised debtors, creditor and equity constituencies, and



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purchasers in numerous reorganizations in the United States and worldwide. Since 2007, Jefferies

has been involved in over 250 restructurings representing more than $550 billion in restructured

liabilities. D.I. 334-3 ¶ 6.

        7.      Following the call with the Committee, White & Case contacted Jefferies on the

Committee’s behalf to further discuss the retention and, specifically, Jefferies’ proposed

compensation. Following negotiations, Jefferies agreed to modify its proposed compensation by

reducing its Transaction Fee from $2,750,000 to $2,000,000. After Jefferies agreed to this

modification, the Committee informed Jefferies of its decision to retain it as investment banker

and FTI Consulting, Inc. (“FTI”) as financial advisor.

                           Division of Labor Between Jefferies and FTI

        8.      Following the Committee’s decision to retain Jefferies as investment banker and

FTI as financial advisor, personnel from Jefferies, FTI and White & Case held a conference call

to discuss the Debtors’ restructuring and the division of labor between the Committee’s advisors.

Following that call, Jefferies prepared a document setting forth the separate and distinct tasks and

workstreams for which each of Jefferies and FTI would be responsible, which FTI approved

shortly thereafter. The division of labor agreed to by Jefferies and FTI is set forth on Exhibit 1 to

this Declaration. Both Jefferies and FTI have significant experience performing discrete roles in

chapter 11 representations and have worked together on behalf of numerous unsecured creditor

committees in these same capacities and, based on this division of labor, Jefferies is confident that

both firms will be able to avoid duplication of effort.

        9.      In sum, Jefferies, as investment banker, is responsible for assisting and advising the

Committee on the current (and any future) sale processes, including whether any bids are viable

and advisable under the circumstances, any potential or proposed restructuring, the status and



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prospects in the capital markets, and capital markets aspects of any avoidance actions, including

potential testimony related thereto. Jefferies has and will continue to provide the Committee with

independent analysis of the proposals and alternatives available to the Debtors as they seek to sell

or restructure their businesses. Jefferies will also assist with plan negotiations if the Debtors head

down that path and provide valuation analysis and expert testimony on value and plan feasibility,

as needed. Notably, the majority of Jefferies’ fees are earned in the form of a Transaction Fee

which will only be earned in the event that a Transaction, as reflected in a chapter 11 plan

confirmed by the Bankruptcy Court, is consummated. (Application, Ex. B ¶ 4(b).)

        10.       By contrast, FTI’s primary responsibility is to review and analyze the financial

aspects of the Debtors’ complex day-to-day businesses and the administration of the Chapter 11

Cases. This role is complementary, and in no way duplicative, of Jefferies’ role.2 As befits its

specific expertise and industry reputation, FTI’s focus has been on, among other things, reviewing

and analyzing financial disclosures and information, issues related to assumption or rejection of

executory contracts, tax issues, employee retention and compensation plans, operating plan and

projections, claims analysis and reconciliation, intercompany activities and claims, liquidity and

cash flow, and operating results. FTI will also perform an investigation of potential avoidance

actions and other claims against insiders and third parties. Where warranted, Jefferies will

coordinate with FTI in connection that investigation.




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    Jefferies’ engagement letter does contemplate that Jefferies, like FTI, will “[b]ecome familiar with, to the extent
    Jefferies deems appropriate, and analyze the business, operations, properties, financial condition and prospects of
    the Debtors.” However, this is work that Jefferies must do as a predicate to advising on any transaction and is
    not the focus of Jefferies’ work for the Debtors, as the other tasks identified in the engagement letter demonstrate.


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                                            Proposed Fees

         11.     Jefferies has performed a review and analysis of investment bank retentions by

official committees of unsecured creditors in comparable chapter 11 cases in Delaware and other

districts. Such analysis is set forth on Exhibit 2 to this Declaration. As set forth on Exhibit 2, the

projected compensation of Jefferies is on the lower end of the range of aggregate compensation

approved for investment bankers in comparable cases.

        12.      Further, the terms of Jefferies’ proposed engagement in this case, including its

retention under section 328(a) of the Bankruptcy Code, are consistent with customary terms for

engagements of this nature.       Significantly, the engagements of both Jefferies and Intrepid

Investment Bankers LP (“Intrepid”), the Debtors’ investment banker, are subject to approval under

section 328(a), which, in Intrepid’s case, has already been granted. Jefferies’ fee structure,

including the amount of its Monthly Fee and the terms of its Transaction Fee, are on the lower end

of market and fair in light of the assigned tasks that Jefferies anticipates undertaking under the agreed

division of labor set forth on Exhibit 1.

        13.      Jefferies has already devoted significant time and resources to this matter. To date

Jefferies has, among other things, provided input on the Debtors’ DIP financing, reviewed and

commented on draft marketing and presentation materials prepared by Intrepid in connection with

the Consumer Brands sale process, analyzed and provided input on bid procedures, analyzed and

augmented Intrepid’s list of potentially interested bidders and regularly advised the Committee and

its other professionals on the status of the sale process. Jefferies has also assisted the Committee in

evaluating the Debtors’ dual track process of pursuing a plan of reorganization as it pertains to

potential value for unsecured creditors. As the Debtors’ Plan process progresses, Jefferies anticipates

that it will, among other things, analyze indications of interest from potential bidders, provide input



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on the designation of qualified bidders, provide comments on mark-ups of asset purchase agreements

and be active at the auction on behalf of the Committee in its role as a consultation party.

       14.     In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.

 Dated: October 13, 2023                              Respectfully submitted,



                                                      /s/ Leon Szlezinger

                                                      Leon Szlezinger

                                                      Managing Director and Joint Global Head of
                                                      Debt Advisory & Restructuring

                                                      Jefferies LLC




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                        Exhibit 1

                    Division of Labor
                                                                                                          Preliminary Draft
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Amyris, Inc.
Proposed Division of Labor


September 2023 / Confidential




Jefferies LLC
Member SIPC
                                                                                                                                                                                             Preliminary Draft
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Proposed Division of Labor                                                                                                                                                         Subject to Material Change




                                   Investment Banking Services                                                                               Financial Advisory Services

   DIP Financing                                                                                               Cash Flow & Liquidity
      Evaluate DIP financing proposal and key considerations including fees, milestones, covenants               Diligence DIP budget and underlying models and assumptions
       and other issues                                                                                           Analyze monthly & weekly cash budgets; actual v. budget cash results, compliance with financial
      Review process for obtaining alternative proposals                                                          covenants
      Explore potential alternative DIP financing options                                                        Assess liquidity runway and monitor DIP on ongoing basis
   Sale Process / Restructuring Transaction(s)                                                                 Cash Management & Intercompany
      Provide advice and assistance in connection with the M&A / any asset sale process:                         Diligence and monitor intercompany transactions
       ─   Identify potential acquirors and assist with contacting / gauging interest                             Monitor reporting and approval protocols
       ─   Assess adequacy of sale timeline                                                                    First Day and KEIP/KERP Motions
       ─   Review marketing materials / data room adequacy, etc.                                                  Conduct diligence on various first day and KEIP/KERP motions
       ─   Assess whether sale of all or part of Debtors is likely to be value maximizing alternative             Prepare analyses to support modifications and/or objections as needed
       ─   Consult during auction process, including with respect to asset allocation, valuing competing       Business Plan
           bids and assessing execution risk                                                                      Review and analyze any business plan developed by the Debtors
   Restructuring Transaction                                                                                      Analyze and diligence current business operations, including Brazil plant capabilities and current
      Evaluate potential restructuring alternatives and strategies                                                state
      Negotiate restructuring proposals                                                                          Monitor and assess contract renegotiations
      Advise with respect to contingent consideration including earn-outs, CVRs or warrants                      Diligence all major commercial/license contracts and associated economics
   Business Plan                                                                                                  Review new cost structure for achievability
      Evaluate enterprise based on the Debtors’ business plan and potential alternatives                      Investigations
   Current State of the Restructuring/Capital Markets                                                             Investigate potential causes of action
      Review of debt and equity capital raising alternatives and assessment of capital markets                   Investigate sources of unencumbered assets
   Plan / Disclosure Statement                                                                                 Plan / Disclosure Statement
      Support development / negotiation of plan and disclosure statement, including plan valuation               Prepare recovery waterfall and validate liquidation analysis
       and recoveries to unsecured creditors                                                                       ─   Corporate structure and intercompany obligations
      Design of plan consideration and mechanics relating to contingent consideration / milestone                 ─   Review scheduled / filed claims, intercompany claims, rejection damage claims, and other
       payments                                                                                                        potential liabilities of the estate
      Evaluate debt capacity of restructured business                                                             ─   Substantive consolidation analysis
      Confirmation issues, including Plan feasibility                                                         Other Financial Diligence & Support
   Avoidance action analysis                                                                                      Review and analyze SOFAs / SOALs
      Valuation / reasonably equivalent value / capital markets aspects / solvency analysis                      Review key contracts and associated rejection damage claims / cure costs
   Other Financial Diligence & Support                                                                            Analyze tax assets by entity and strategies to monetize/minimize taxes payable
      Review investment banker retention                                                                         Review professionals’ retention motions, excluding IB retention, and issues
      Public company/governance issues related to restructured entity                                            Review other remaining key motions
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Jefferies LLC   / September 2023                                                                           1
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                        Exhibit 2

                     Fee Comparison
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Investment Banker Fee Precedents   for Official Committees
Select Cases with Pre-petition Debt of $500 Million to ~$2.0 Billion
($Thousands)

                                                                                                                                                Monthly Fees                       Transaction Fees     Implied 5-Month Fee

                                              Petition                            UCC Investment     UCC Financial         Funded                                  Credit After
               Company                                                Venue                                                             $/mo     Crediting                        Amount    % of Debt   Amount    % of Debt
                                               Date                                  Banker            Advisor              Debt                                     Month

Yellow Corp.                                 8/6/2023                Delaware     Miller Buckfire        Huron             $1,223,274    $175      50%                  4          $3,750       0.31%    $4,538       0.37%

Core Scientific                             12/21/2022         Texas Southern     Ducera Partners         N/A                909,000      150      50%                  3           3,000       0.33%     3,600       0.40%

Clovis Oncology Inc.                        12/11/2022               Delaware        Jefferies      Alvarez & Marsal         790,576      125      50%                  3           2,000       0.25%     2,406       0.30%
                                                                                                                                                             (1)
                        (2)
Vital Pharmaceuticals                       10/10/2022        Florida Southern    Miller Buckfire   Lincoln Partners        1,050,200     125      50%                  3           2,500       0.24%     3,000       0.29%
                                                                     New York                            Alton /
SAS AB                                       7/5/2022                                Jefferies                              1,455,000     175      50%                  9           4,250       0.29%     5,125       0.35%
                                                                     Southern                         AlixPartners
GWG Holdings(3)                              4/20/2022         Texas Southern      Piper Sandler      AlixPartners          2,016,339     150      50%                  6           5,000       0.25%     5,750       0.29%

Brazos Electric Power Cooperative            3/1/2021          Texas Southern         Lazard         FTI Consulting         2,044,584     150      50%                  6           3,250       0.16%     4,000       0.20%

Global Eagle Entertainment Inc.              7/22/2020               Delaware          PWP                N/A                855,600      150      50%                  3           2,250       0.26%     2,850       0.33%
                                                                                                       Conway
Sable Permian Resources                      6/25/2020         Texas Southern     Miller Buckfire                           1,318,690     125      50%                  3           2,500       0.19%     3,000       0.23%
                                                                                                      MacKenzie
GNC Holdings, Inc.                           6/23/2020               Delaware     Miller Buckfire        BRG                 903,400      125      50%                  3           1,500       0.17%     2,000       0.22%
                                                                     New York
LSC Communications                           4/13/2020                               Jefferies      Alvarez & Marsal         972,000      150      50%                  6           2,750       0.28%     3,500       0.36%
                                                                     Southern
                                                                     New York
OneWeb Holdings LLC                          3/27/2020                               Jefferies         Province             1,733,122     125      50%                  3           3,000       0.17%     3,500       0.20%
                                                                     Southern
                                                                     New York                        BRG / Dundon
McClatchy                                    2/13/2020                           Moelis & Company                            703,300      150      50%                  6           3,450       0.49%     4,200       0.60%
                                                                     Southern                          Advisors
                                     (4)                                                               Conway
Southland Royalty Company LLC                1/27/2020               Delaware        Jefferies                               540,000      125      50%                  4           1,500       0.28%     2,000       0.37%
                                                                                                      MacKenzie

 Maximum                                                                                                                   $2,044,584    $175      50%                  9          $5,000       0.49%    $5,750       0.60%

 Mean                                                                                                                      $1,179,649    $143      50%                  4          $2,907       0.26%    $3,533       0.32%

 Median                                                                                                                    $1,011,100    $150      50%                  4          $2,875       0.26%    $3,500       0.32%

 Minimum                                                                                                                    $540,000     $125      50%                  3          $1,500       0.16%    $2,000       0.20%

 Amryis, Inc.                                                                                                              $1,133,000    $125      50%                  4          $2,000       0.18%    $2,500       0.22%




Source: Court Filings
(1)   Monthly crediting of 25% for first 3 months, 50% thereafter.
(2)   Funded debt includes litigation claims.
(3)   Official committee of bondholders.
(4)   Monthly fee of $125k for first two months, $100k thereafter.

Jefferies LLC / October 2023                                                                                           i
